
707 N.W.2d 351 (2005)
46TH CIRCUIT TRIAL COURT, Plaintiff, Counter-Defendant, Third-Party Plaintiff-Appellee,
v.
COUNTY OF CRAWFORD and Crawford County Board of Commissioners, Defendants, Counter-Plaintiffs, Third-Party Plaintiffs, and
County of Kalkaska, Third-Party Plaintiff, Counter-Defendant, and
County of Otsego, Third-Party Defendant-Appellee, and
Cohl Stoker Toskey &amp; McGlinchey PC, Appellant.
Docket No. 128882, COA No. 254181.
Supreme Court of Michigan.
December 28, 2005.
On order of the Court, the application for leave to appeal the May 3, 2005 judgment of the Court of Appeals is considered, and it appearing to this Court that the case of 46th Circuit Trial Court v. Crawford County, 474 Mich. 986, 707 N.W.2d 591 (2005) (Docket No. 128878) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decision in that case.
